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                               UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                        CENTRAL DIVISION



 UNITED STATES OF AMERICA,                                      3:22-CR-30086-RAL
                                                                3:14-CR-30074-RAL
                       Plaintiff,

                                                                    SENTENCING
        vs.                                                    SCHEDULING ORDER


 YERNON ROBERT SCHMIDT, a/k/a Sonny
 Boh Schmidt,

                           Defendant.



       Defendant Vemon Robert Schmidt appeared before Magistrate ludge Mark Moreno for a

change ofplea hearing on lanuary 16,2024. ludge Moreno issued a Report and Recommendation

recommending that the Court accept Defendant's plea of guilty to Count 1 as alleged in the

Indictment in 3:22-CR-30086, and has admitted the allegations in Paragraphs 1, 2, 3, 4, 7, and 11

of the Third Amended Petition to Revoke Supervised Release, Doc. 161, in 3:14-CR-30074 For

good cause, it is hereby

       ORDERED that this Court adopts the Report and Recommendation, Doc. 43 in 3:22-CR-

30086, Doc. 171 in 3:14-CR-30074, the plea of guilty is accepted, and Defendant is adjudged

guilty of Count 1 as alleged in the Indictment in 3:22-CR-30086, and accepts the admissions to

the allegations in Paragraphs 1, 2, 3, 4, 7, and 11 of the Third Amended Petition to Revoke

Supervised Release, Doc. 161,in 3:14-CR-30074. It is further

       ORDERED that a combined modified presentence report he prepared and the draft shall be

filed by the Probation Office in CM/ECF using the Draft Presentence Report event by March 4,

2024. It is further



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        ORDERED that any objection to the presentence report and notice of intent to seek a

departure by either the Government or the Defendant shall be filed by counsel in CM/ECF using

the Objections to Presentence Report event by March 18, 2024. If counsel has no objections to

the presentence report, counsel should indicate such by using the Notice of No Objections to

Presentence Report event. It is further

        ORDERED that all letters ofsupport shall be filed by eounsel in CM/ECF using the Sealed

Letter(s) of Support event by April 1,2024. All letters of support shall be legibly scanned as one

document and not scanned as separate documents. It is further

        ORDERED that the final presentence report shall be filed by the Probation Office in

CM/ECF using the Final Presentence Report event by April 1, 2024. An addendum setting forth

any unresolved objections, the grounds for those objections, and the probation officer's comments

on those objections shall also be filed in CM/ECF using the Addendum to Final Presentenee Report

event. It is further


        ORDERED that any Senteneing Memorandum and Motion for Departure or Variance shall

be filed in CM/ECF by April 8,2024. It is further

        ORDERED that the sentencing hearing and any necessary evidentiary hearing regarding

sentencing shall be held on Monday, April 15, 2024, at 9:00 a.m., in the Courtroom of the U.S.

Courthouse in Pierre, South Dakota.

       DATED this 17th day of January, 2024.

                                             BY THE COURT:




                                             ROBERTO A. LANGE
                                             CHIEF JUDGE
